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                            UNITED STATES DISTRICT COURT
                        IN AND FOR THE DISTRICT OF WYOMING

  STEPHANIE WADSWORTH, Individually
  and as Parent and Legal Guardian of W.W.,
  K.W., G.W., and L.W., minor children, and
                                                     Case No.: 2:23-cv-00118-NDF
  MATTHEW WADSWORTH,

                      Plaintiffs,
                                                     JURY TRIAL DEMANDED
                 v.

  WALMART, INC. and JETSON
  ELECTRIC BIKES, LLC,

                        Defendants.



                      PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE

       The Plaintiffs, Stephanie Wadsworth, individually and as parent and legal guardian of

W.W., K.W., G.W., and L.W., minor children, and Matthew Wadsworth, by and through their

undersigned legal counsel, respectfully request that this Honorable Court take Judicial Notice of

Wyoming Statutes §§ 35-9-801 through 35-9-811, known as the Wyoming Reduced Cigarette

Ignition Propensity Act; ASTM International Standard Test Method for Measuring the Ignition

Strength of Cigarettes; McKinney’s Executive Law § 150-c, Fire Safety Standards for Cigarettes,

and; New York State’s fire safety performance standard, and in support states as follows:

       1.      Under Fed. R. Evid. 201, and Wyo. R. Evid. 201, a court may take judicial notice

of adjudicative facts that are “…(1) generally known within the territorial jurisdiction of the trial

court or (2) capable of accurate and ready determination by resort to sources whose accuracy

cannot reasonably be questioned.”

       2.      Judicial notice may be taken at any stage of the proceeding. Fed. R. Evid. 201(d);

Wyo. R. Evid. 201(f).

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       3.      Every court of this state shall take judicial notice of the common law and statutes

of every state, territory and other jurisdiction of the United States. WY Stat § 1-12-302 (2023).

       4.      It is within this Court's prerogative to take judicial notice of the official reports of

governmental agencies. See Dellapenta v. Dellapenta, 838 P.2d 1153, 1159 (Wyo.,1992); see

Washakie Cnty. School Dist. No. One v. Herschler, 606 P.2d 310 (Wyo., 1980)(Court held that it

could take judicial notice of official reports of State Department of Education); Jensen v. Town of

Afton, 59 Wyo. 500 (Wyo. 1943)(taking judicial notice of an official report of the state examiner

to the Governor relative to the bonded indebtedness of counties, municipalities, and school

districts.); Colorado Kenworth, Inc. v. Archie Meek Transp. Co., 495 P.2d 1183 (Wyo.

1972)(taking judicial notice of intrastate motor freight tariff, published by the Public Service

Commission, providing charge for delay not occasioned by carrier.)

       5.      Fed. R. Evid. 201 and Wyo. R. Evid. 201 further provide that a court shall take

judicial notice if requested by a party and supplied with the necessary information.

       6.      In 2010, the Wyoming legislature adopted the “Wyoming Reduced Cigarette

Ignition Propensity Act” (hereafter “Act”) which implemented cigarette fire safety standards to

reduce the likelihood that cigarettes will cause fires and result in deaths, injuries, and property

damages. Wyoming Statutes §§ 35-9-801 through 35-9-811.

       7.      Specifically, the Act provides that any cigarette sold in Wyoming is required to

meet American Society of Testing and Materials (ASTM) Standard E2187-04 (2004) "Standard

Test Method for Measuring the Ignition Strength of Cigarettes" - a construction that slows down

its burn rate and, when not puffed, causes it to self-extinguish. See Wyoming Statute § 35-9-803.




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        8.        The Act is modeled after New York State’s fire safety performance standard,

which is based upon decades of research by the National Institute of Standards and Technology,

Congressional research groups, and private industry.1

        9.       Accordingly, as public statutory law and resolutions of the Wyoming Legislature

and the Congress of the United States, this Court must take judicial notice of the following:

              a. Wyoming Reduced Cigarette Ignition Propensity Act - Wyoming
                 Statutes §§ 35-9-801 through 35-9-811. A copy of said Wyoming
                 Statutes are attached hereto as Exhibit “A”.

              b. American Society of Testing and Materials (ASTM) Standard
                 E2187-04 (2004) "Standard Test Method for Measuring the Ignition
                 Strength of Cigarettes". A copy of American Society of Testing and
                 Materials (ASTM) Standard E2187-04 (2004) is attached hereto as
                 Exhibit “B”.

              c. New York State Fire Safety Standards for Cigarettes, New York
                 Executive Law, Section 156-C, as amended, and Part 429 of Title
                 19 New York Codes, Rules, and Regulations, as amended, and the
                 interpretation and implementation thereof, as they exist on March 1,
                 2008. Copies attached hereto as Composite Exhibit “C”.

        10.      This Court may take judicial notice of the American Society of Testing and

Materials (ASTM) Standard E2187-04 (2004) "Standard Test Method for Measuring the Ignition

Strength of Cigarettes", since its test methods and performance standards are not subject to dispute

and are capable of accurate and ready determination by resort to resources whose accuracy cannot

reasonably be questioned.

        11.      This Court may also take judicial notice of New York State’s Fire Safety Standards

for Cigarettes, New York Executive Law, Section 156-C, as amended, and Part 429 of Title 19

New York Codes, Rules, and Regulations, as amended, and the interpretation and implementation




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 New York Fire Safety Standards for Cigarettes, New York Executive Law, Section 156-C, as amended, and Part 429
of Title 19 New York Codes, Rules, and Regulations, as amended.

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thereof, as they exist on March 1, 2008, due to official actions of the legislative, executive, and

judicial departments of any state, including New York.

       12.     By way of this filing, Plaintiffs give timely written notice of their request to enable

Defendants to prepare to meet the request and furnishes the Court with the attached exhibits to

enable it to take judicial notice of the matter requested. Fed. R. Evid. 201; Wyo. R. Evid. 201.

       Date: January 30, 2025                      Respectfully Submitted,

                                                     /s/_Rudwin Ayala
                                                     RUDWIN AYALA, Esq.*
                                                     Florida Bar No.: 84005
                                                     MORGAN & MORGAN, P.A
                                                     1700 Palm Beach Lakes Blvd, Suite
                                                     500 West Palm Beach, FL 33401
                                                     Telephone: (561) 764-2220
                                                     Emails: rayala@forthepeople.com
                                                     sleroy@forthepeople.com
                                                     Admitted Pro Hac Vice

                                                     And,

                                                     _/s/ Taly Goody
                                                     TALY GOODY, ESQ.
                                                     Wyoming Bar No.: 8-6737
                                                     GREYSON M. GOODY, ESQ.
                                                     GOODY LAW GROUP
                                                     58 Malaga Cove Plaza
                                                     Palos Verdes Estates, CA 90274
                                                     Telephone: (310) 893-1983
                                                     Emails: taly@GoodyLawGroup.com
                                                     greyson@GoodyLawGroup.com
                                                     Local Counsel

                                                     _/s/ T. Michael Morgan
                                                     T. MICHAEL MORGAN, ESQ.*
                                                     Florida Bar No.: 062229
                                                     Kentucky Bar No.: 94856
                                                     MORGAN & MORGAN, P.A
                                                     20 N. Orange Ave., Suite 1600
                                                     Orlando, FL 32801

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                                   Telephone: (407) 420-1414
                                   Emails: mmorgan@forthepeople.com
                                   akelseyflowers@forthepeople.com
                                   Admitted Pro Hac Vice




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